Pro
w Tools Ade

rary Places
oPED COORDINATES
f° 00'28.9"N 118°22'25.1"W

fo os

0028.9" N 118" 22'23.1"W

23.1"W

0028.9" N 118"22"
04'45,.9"N 118° 22'29,5" We
03'35.6"N 118°22'10.9"W
M02'9 7.3" N 118°23'17.6"W

02'S 7.0" 118°23' 17.6" W

ouncements
ters and Labels

Huildings

ther
ouds
formation

ery
rerytrail
gapan Photos
oogle Earth Community
msey Historical Maps
mble Qutdoors Trips

Ee
irks/Recreation Areas
ansportation

ater Body Outlines
ikipedia
Government

Case: 1:24-cr-O0066-DRC Doc #: 34-6 Filed: 08/23/24 Page: 1 of 2 PAGEID #: 281

Rees

-C
Sets rhe
r ca r

one INS
% , : a CM)

ie

fi
(=I

ee a

Ss =e "|

,
CW aya oe

ee
aa) Ean a eee Pe) vay

rey
Lo

iy

Taal
ee

3

Cor ees |
ogle Earth Pro

Piper Cie Aa Case: 1:24-cr-O0066-DRC Doc #: 34-6 Filed: 08/23/24 Page: 2 of 2 PAGEID #: 282

sarch

Get Directions History
ee,
laces
= My Places =
i

Vdd [eee NT saa
a=] aa gala a
Temporary Places
¥ SS MAPPED COORDINATES
-[¥| 4 34°00'28.9"N 118°22'23.1"W

34°04'45.9"N 118° 22'29,5"W
6"N 118"22"

34°02'97.6"N 118°23'

oe RL hl ai tiie

ath

Primary Database
©) Announcements
- Borders and Labels
Places
=I Photos

YF Roads

3D Buildings

a Weather

3 Clouds
Information

Gallery
? Everytrail
2© Gigapan Photos
i Google Earth Community
- Rumsey Historical Maps
(il Kimble Outdoors Trips
[2 More fe We eee . ae
& Parks/Recreation Areas a Bs och ate aE
v Pr Transportation a i Be ‘apie linet Ute SiC aye Tanlket

O Water Body Outlines Ne oc ae ere ere LY reed Pema 4) Y eet p= TS (C7eyojo|(- =tlauae

Wikipedia | ne J 8 ee es a 4. ; ae Sena lah |

‘ — 2 = Se a! : SSS co an ees csatiasnn oes eo ee hn eee ee Se

